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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION

UNITED STATES OF AMERICA
                                                    SUPERSEDING
                                                    INDICTMENT
V.                                                  CR 2:18-50


MICHAEL ARTHUR NIXON




                               PLEA AGREEMENT


        Defendant, MICHAEL ARHTUR NIXON,represented by his counsel Jason

M. Tate, and the United States of America, represented by Assistant United States

Attorneys Jennifer Kirkland and Marcela Mateo, have reached a plea agreement in

this case. The terms and conditions of that agi'eement are as follows.

1.      Guilty Plea

        Defendant agrees to enter a plea of guilty to the lesser-included offense of

Count One of the Superseding Indictment, which charges a violation of 21 U.S.C. §

846.

2.      Elements and Factual Basis

       The elements necessary to prove the lesser included offense charged in Count

One are(1)That two or more people in some way agreed to try to accomplish a shared

and unlawful plan to possess quantities of a mixture or substance containing a

detectable amount of cocaine, a Schedule II controlled substance; and (2) That the

Defendant knew the unlawful purpose of the plan and willfully joined in it; and (3)
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That the object of the unlawful plan was to possess with the intent to distribute and

to distribute the cocaine.

       Defendant agrees that he is, in fact, guilty of this offense. He agrees to the

accuracy ofthe following facts, which satisfy each of the offense's required elements:

       Beginning on a date unknown, but as early as October 2017, up to and

including October 2018, the precise dates being unknown, in Glynn CJounty and

surrounding coimties, within the Southern District of Georgia, and elsewhere, the

defendant did knowingly and intentionally combine, conspire, confederate and agree

with others known and unknown, to possess with intent to distribute quantities of a

mixture or substance containing a detectable amount of cocaine, a Schedule II

controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(C); all done in violation of Title 21, United States Code, Section 846.

      3.     Possible Sentence

      Defendant's guilty plea to the lesser-included offense of Count One will subject

him to the following maximum possible sentence:

      In this case, the defendant committed this violation after a prior conviction for

a serious violent felony offense became final, {see Doc. 395), therefore the maximum

penalties ai*e: Imprisonment of not more than 30 years; a supervised release term of

not less than 6 yeai's, a fine of not more than $2,000,000, such restitution as may be

ordei-ed by the Court, and forfeiture of all forfeitable assets. The Court additionally

must impose a $100 special assessment.




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4.      No Promised Sentence

        No one has promised Defendant that the Co\irt will impose any particulai*

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.      Court's Use of Sentencing Guidelines

        The Coui't is obhgated to use the United States Sentencing Guidelines to

calculate the applicable guideline range for Defendant's offense. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Court wiH consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18

U.S.C. § 3553(a), in determining the Defendant's sentence.           The Sentencing

Guidelines are based on^of Defendant's relevant conduct, pursuant to U.S.S.G. §

lBl.3, not just the conduct underlying the particular Count or Counts to which

Defendant is pleading guilty.

6.      Agreements Regarding Sentencing Guidelines

        a.    Use ofInformation

        Nothing in this agreement precludes the government from providing full and

accurate information to the Court and U.S.Probation Office for use in calculating the

applicable Sentencing Guidelines range. Any incriminating information provided by




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the defendant during his cooperation will not be used in determining the applicable

Guidelines range, pursuant to Section IB1.8 of the Sentencing Guidelines,

        b.     Acceptance of Responsibility

        The government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3El.l(a) of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

gi'eater prior to any reduction for acceptance of responsibility, the government will

move for an additional one-level reduction in offense level piu-suant to Section

3El,l(b)of the Sentencing Guidelines based on Defendant's timely notification of his

intention to enter a guilty plea.



7.      Dismissal of Other Counts

        At sentencing, the government will move to dismiss any other Counts of the

Indictment that remain pending against Defendant, if applicable.



8.      Financial Obligations and Agreements

        a.    Restitution

        The amoimt of restitution ordered by the Court shall include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not limited to

the specific counts to which Defendant is pleading guilty. Any restitution judgment




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is intended to and will survive Defendant, notwithstanding the abatement of any

underlying criminal conviction.

        b.    Special Assessment

        Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Comt, which shall be due immediately at

the time of sentencing.

        c.    Reauii'ed Financial Disclosures

        By the date that Defendant enters a guilty plea. Defendant shall complete a

financial disclosm*e form listing aU her assets and financial interests, whether held

directly or indirectly, solely or jointly, in his name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of peijury and

provide that form to the Financial Litigation Unit of the United States Attornej^'s

Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents ofthose reports

with the Court and the United States Probation Office. Defendant also authorizes

the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

        d.    Financial Examination

        Defendant wHl submit to an examination under oath on the issue of his

financial disclosm'es and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.




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       e.     No Ti'ansfer of Assets

       Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or.that may be imposed upon her by the Coui't at

sentencing. Defendant promises that he will make no such transfers in the future.

      f.     Mateiial Change in Circumstances

      Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.

      g.     Enforcement

      Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by thejudgment ofthe

Court in this case will be placed on the Treasiuy Offset Progi-am so that any federal

payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

9.    Waivers

      a.     Waiver of Anneal

      Defendant enthely waives his right to a direct appeal of his conviction and

sentence on any groimd. The only exceptions are that the Defendant may file a direct
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appeal ofhis sentence if(1)the couit enters a sentence above the statutory maximum,

(2)the court enters a sentence above the advisory Sentencing Guidelines range found

to apply by the court at sentencing; or (3) the Government appeals the sentence.

Absent those exceptions. Defendant explicitly and irrevocably instructs his attorney

not to file an appeal.

      b.     Waiver of Collateral Attack

      Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim ofineffective assistance of counsel.

      c.     FOIA and Privacv Act Waiver

      Defendant waives all rights, whethei* asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record peitaining to the investigation or prosecution ofthis case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974,5 U.S.C.§ 552a, and all subsequent amendments thereto.

      d.     Fed. R. Crim.P. IKfi and Fed. R. Evid. 410 Waiver

      Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's statements
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in connection with this plea, and any leads derived therefrom,shall be admissible for

any and all puiposes.

10.   Defendant's Rights

      Defendant has the right to be represented bj' counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea;the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

11.   Satisfaction with Counsel

      Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that his attorney has represented him faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attomey.



12.   21 U.S.C. Section 851 Enhancement

      Defendant agrees that before pronouncement of sentence. Defendant wiQ

affirm that he has been previously convicted of a serious drug felony offense, as
alleged in the 851 information filed by the government(Doc. 395). Defendant agrees
that he served a term ofimprisonment of more than 12 months for that serious drug



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felony offense, and that he was released from imprisonment within 15 years of

October 2017.




13.   Breach of Plea Agreement

      If Defendant fails to plead guilty, withdi'aws or attempts to withdraw his guiltj'

plea, commits any new criminal conduct following the execution of this agreement, or

otherwise breaches this agreement, the government is released from aU of its

agreements regarding Defendant's sentence,including any agi-eements regarding the

calculation of Defendant's advisory Sentencing Guidelines.           In addition, the

government may declare the plea agreement null and void, reinstate any counts that

may have been dismissed pm-suant to the plea agreement, and/or file new charges
against Defendant that might otherwise be barred by this plea agreement. Defendant
waives any statute-of-limitations or speedy trial defense to prosecutions reinstated
or commenced under this paragraph.
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14.    Entire Agi'eement

       This agreement contains the entire agreement between the government and

Defendant.

                                                        TINE
                                                        ATTORNEY



Date                                       . Rafferty
                                    Chief. Criminal Division




Date                                Jennifer Kirk ra rid
                                     ssistantvniced states Attorney




Date                                Marc ?la C. Mateo
                                    Assiiant Uniten States Attorney




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       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agi*eement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and acciu'ate in every respect.




Date                                    Michael Arthur Nixon
                                        Defendant




       I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and evei-y part of this agreement with him. I believe that he fully and

completely understands it, and that his decision to enter into this agreement is an

informed,intelligent, and voluntaxy one.



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Dale I                                  Jason M T
                                        Defemdant/s Attorney




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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION

UNITED STATES OF AMERICA                      CR 218-50

V.



MICHAEL ARTHUR NIXON


                                      ORDER


       The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the

defendant's attorney at a hearing on the defendant's motion to change his plea and

the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

it is thereupon,

       ORDERED that the plea of guilty by defendant be/and it is, hereby accepted

and the foregoing Plea Agreement b^an^ it is, herej^y ratified and confirmed.
       This '^\ day of May, 2019.



                                HO^RABLE LISA GODBEY WOOD
                                UNITED STATES DISTRICT JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
